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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                          CASE NO. 17-60092-CIV-DIMITROULEAS/Snow

  SOO KO,

                 Plaintiff,

  v.

  MSC CRUISES, S.A.,

              Defendant.
  ____________________________________________/

                                        ORDER TO RESPOND

                 THIS CAUSE is before the Court on Plaintiff's Motion to Compel Contact

  Information for Disclosed Prior Incident (ECF No. 23), which was referred to United States

  Magistrate Judge Lurana S. Snow. Being fully advised, it is hereby

                 ORDERED AND ADJUDGED that on or before July 12, 2017, the Defendant shall

  file a response to the motion which shall not exceed three pages in length. Relevant exhibits may

  be attached. After reviewing the parties' papers, the Court will determine whether a hearing is

  necessary, and if so, will set the matter on the next available discovery calendar.

                 DONE AND ORDERED at Fort Lauderdale, Florida, this 5th day of July, 2017.




  Copies to:

  All Counsel of Record
